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                                                                            United States Bankruptcy Court
                                      UNITED STATES BANKRUPTCY COURT            Southern District of Texas
                                        SOUTHERN DISTRICT OF TEXAS                 ENTERED
                                                                                 August 18, 2023
In     PCPC Direct, Ltd.                                                        Nathan Ochsner, Clerk
Re:
       Debtor(s)                                       Case No.: 21−32995
                                                       Chapter: 7


                                              ORDER CLOSING CASE


The estate has been fully administered. Therefore, the Court orders:

1. Christopher R Murray is discharged as trustee of the estate.

2. The Trustee's bond is cancelled.

3. The case is closed.




Signed and Entered on Docket: 8/18/23
